 

Case 9:19-cv-00057-BKS-ATB Document1 Filed 01/16/

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CARAccy OF My OSh lwuEsERToR, y
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Me. Timotey Quinn OF “Aces LT Me.
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Ray Vans leet 5 LI, Remec Caetyon Me,
Pachter Quer Te, Co@eectvonaL OW \WCERS,
CMEREINATTER RETERRED Te AS "C.0%s") MR,
Kein ASHBY , CB. Me ker EKcENT |
Wy C0. Seshinicences SWEET C.0. MR.
kk McCaaray - Orbs He. ‘outs Doe
Note 4 2.0. Ma,"eun Bae Wot. a
Ma Noun Boe" NeB C0. Me. Soun |
Bok" Nort) C.0. Ma. “oat Océ" Hold’,
Mac) 'Joun\Jave Boe" Nol THe
TeCHRILAL SECORITY SPECIALIST , MQ65),
Jord JAC Doe Nol? 5 He). “Souita| SANE |
See(sy" No.3 | THe County OF CaNUGA, 4)
CANVGA hae Jaie €.0. Meg, 3 JANE
Oca Wold Wase) AND) ALL OTHER
PARTIES \NYOLNED | eh aly
DEFENDANTS,

 

 

Pace 2.
 

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Wo Mr, Ande Cuomo sxe : Gowernoc of The Stake of

New Sor kK.
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Shoko Depachment of Getteckions and Community
Suge ruisron,

La. Me, Josegh Belliner ) Beguhy Commissioner of The Depa crn

oF Cofreckrons and GCommonity Superuision Gortectional
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“A, Me, Wacold DB. Grahom The Sugecinbendent of Avborn
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oF Secority od Aubutn Gottechional faci Why ;

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Robatn Cottechional Facil hy.

LOL Mew, “Sohn\one Doe” No.2 The Evidence Control Supervisor
ad Robotp Cott cdfona\ Facility,

WA. May. Sohol dane Dow! Nos Thre Criminal Prosecution Liaison act
RKoburn Cortechional Facilily,

sO Sreeken Moker, Chrref nvesdi goiter OC Te OMMice of
Special \nwastiqation,

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V3. MACS). Solin Jone Doe)" Woah assiqnred to this Mead ber
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ok Vice &f Seecial Lave sligahot lave shigoLoc SS),

(4. Me. Joseph Nasik an Likuhenand at Nokutn Coftedional
Faality,

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Facityhy |

IG. He, “Sohn Bee Wo.5 Mikckell an Lievkenanmt ab Aubora
Goftechiona\ Loulan,

V4. He, Roy lant lead an Lieukenand ck Roboin Gotteciional facility,

IS.TAGK Michoe\ Quioretbte an Lieutenant Aching Caplan od Koborn
Cottechional F actly,

V9, HE. Kevin Ashby an Cottechional Officer ak Auburn Corteckional
Faalvty,

Bd. Me. Keith Ey Wincerk MW an Gortecional OClicer ok Auburn
Cofteckiona\ Facility,

DA. Me Nedhaniel Suet an Gorrechisnal OfGcer at Aubvin

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Pace. 5
 

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MA We,'Yokn Daelt No.l an Gosteckional Kee ak Aoburn
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DY. Me. Yoho Dee Hort an Corteckional OfCicer ad Auburn
Cofceckional Focilrty,

45, Mr." NWohn Doe” Nak an Cot Pechional OLieet atk Auborn
Cot rc\iona\ Yar lity «

DL Me," Jolin Doe" Nod an Corteckional Officer od Avobvern
Lottechiona\ Yauly,

V4 Mc. Nokn Doe" YolD an Cottechional Officer ak Auburn
Cotrectional Facility,

2BLMG). “Sohn\ Jame Doe" Nall an Depart ment of Gortechions
and Commu avy QoRUMISION Technical Secorrty Specialist,

AG. Md, "Sohn\ Jane Doe" Noid an Departorent a Corrections
End Commun thy Qoperuision Employee,

BD. MEG), Joka dane Doe! Wo.l3 an Degarment of Lorrecdions and

Community Svpecusion Emeloyee,
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1. Ths Monicigality Of The County Ot Goyvga.

3. Mes." Sane Doe” Nol Wade an Coyuga County Jail
Gortrchional OCCicer,

Premous LAwSsuITS BY PLAINTIEE

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ak Cay ge County dail . Eambit vA

Plant ff / ‘i

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and contol on ke 444 day of Match, LOVG, and Noto 4h
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Ceom DOCCS custedy and felotired to DOCS about one

yeok \alec due oe DOCCS employees yakiag unlarw£e |

 

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AE. Sock ACMiche 4X wovld be avll and void if nis couct
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Facts

34. On thee AQ doy of bebroat ) LOG, Plawdi€t LIAS oan
Keeplouk \nmeke ok Robern Correctional Facility hous

on O- Block, F company, 24 cell POR Remaining
a day § of WiS A year Fatale Wioledion,

33. On Such dodke ob ARoxamahly SG. LOam Plarnkll mad
an atkemol +o proceed to keeplock Pecerabion, AL Which
Hore Plaindiff Placed al\ hems Shock lee took +o Reeplock

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o& Ane cell thod ke lockked In,

BA, Ghocdly of ber placing Such thems on his gocke C .Ostlr.
Nodhanvrel Sweet and Co. Hr Kevin Ashby Showed vp
ah Plaindil( Me, Men's cell and ger established keeplock
Fececalion TolkS and qu \ovions od Aubutn Gorveckiona|
Faci\ty Plainkiff bed is do be Made , \iah\ \S 4a be On,
Shick is to be ducked in and back 1S bo beturned from
hye gocbe and once ‘hye cell gore AS opened Plaintiff is
to back oot of is cell into Belendant U.0, Me. Suret
Fells him ko males an 40 degree AUEN and face Defendant
C,.0. Hr. Ashley and onadk¢ the “Ceaconable, Susgieren"
sLandord (ahich ptotects DOCG eoyloyecs from MeacrAbess

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Whegal Seatch lawsuits) Bbelendowk €.0. MM Ashby Airacked
Plein He. Agee Xo OPEN lms Mouth and dackendent Mr.
Ashley did an quick wisval oF Plankf£'s Hr. Rave mouth
and did nok Aiscontety any contfaband oC any hing Wack
appeared to be com(aband .

HD. Lohike dekendonk OO, Mf - Ahly checked PlainkifC'’s mouth
Delendonk €.0, Mr, Sued conducked an pork Leisk. of
Ploand f0 MA. Agee onder the "reasonable suspicion”
Slandord, Since Keeplock Remeckion ak Nobertn Gortechienal
Foc iy dves nob have individvel keeplock fearekton
cages fer tach and wety inmoke lout Father two
Cages Mukich TeMmakes ace locked in Cages in {roves
Cor Aheye atte hovul at cecteakion,

WA, Deting Such Search, Conducred ly G.O. ME, Seseet Plaod fl
TAX. Kaee’s chick Was orbocked by AeCendant Ur, Sweet
and Me. Agee head Wis parts checked by GOs MYC, Sureck
by dekendank MCSweeh taking bebh of his dombs and
CwMDINg ARM along the tradibional slyly) pants Het
Plawh ill was Dear ea Waishband checking Tot any
conbtaloand -khak Moy hare been hidden alon 4 Such
Loaistband, Once soch sracch was competed Plaink ff
tr. Agee was to benk aver fokke off the shower shoes
Adneck lhe LAs Weaing Lake all of Lis ems of £ of las

qake ANd place them a WS pockets then benk ouert and
Pace. 3

 
 

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port on Ins backs and Lenore dvobely aie Wak place both of
Wis hands tw his pockets and walt past Oefendant C,0.
Mr, Ashby and Ais Commenced Plaimlill Mr, Ragee +a+ne
Cafe, Cushady and, contral of Defendants C.0: Mr, Ash by

and GO. MO. Swoeet,

4. UWhale in the core, Costody and control of Defendants Co's
Mc. Seek and, Me. Rshby Flatt Mr, Ages Was Wualking
WIN nis lands in Wig Coat pockets and head dicectly in
Front of him snot lacking AN any obler cells due do the
Pach Mok suck move ' pss like bakin Your hands out of
Hout gocksels ) wold be an FeoSon 2 Mr. Suseetk or
Mes Aghby +o gend Planhiff My, Rares back v0 larg Gel
and Mr, Agee early wished +o proceed Ap keeplock
Cecteation and did nod gia Abe defendants qny Feason

Fort Ahem 4a Band MO Agee hack to has Gell.

43. As PlawhiSo Ti, Raee Was proceeding to Keeploc
Recefakion We could eo an inmake Comflainting about
not lserng eX ou\ for keze lode Fecreakions As Plaiwntif(
Waleed by Wis Call vockh Delendanks CO! s Mr, Ashi
and Mr. Sureset Wwadching \niS ANY more CWere, {

H company ig Alve Lash Company on Be Block 4a proceed
4a leeep lock Feaveakian, and Plaink( ceiahloor nas
already proceeded Xo kero lack Fecetahion PNK ANG

Plaili{E he bask inmate he proceed feo Keep lecle Fecteadion
PAGEA

 
 

 

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On Aye enkine Hack) ,

YY. Plait Hy, Roe could, ey See C.0. Mr Thomas
McGart Vhy \eonnng abla¢ Cushing do lock Ane lackleo¥
C Which BOGS slall wrmberS USe Lo lock and open the
cells, RUE Company has Aven in mex facildy under
DOCG lonsdichion Mad has cells jek mn GOH Cases

Lnmolks in Garlain facilidixs Wilh cells are alerded
Keys),

HE Once lnmeke Plandi€l Mr, Agee. at +o Shae Crank of the
Camgarny Wwe was Aitecked, by deGendank G0. Nh keh E,
\ingent WW ko Place his hands one lock bow 14 Har Presents
ao C.0's MO Vhomosg Melarthy 5 Mc, Nodhanrel Suoesh) Mr.
Kevin Ashby , TH, Mohn Doe" Nos Me, ohn Bee!’ No 8 j
Me. Yohn Oge" Ned and Serra) aller <.O,'s ak Roku

Cortreciione\ Yooh, Once PlaidifC asked’ for whad?” Me
Laas difecked Ahan By dekendant 6.0, Me, Nethaniel Sweet
Xa “Sush ect your hands on the Lockbox!’ Plaintkifl did So
and Was handcued & Laken down Shar,

HL, Leen qos, Avot) Mae Ske eS Rlarnbill heared Defendant oc
he. Kerth E, Vincent 4ell Watch Commander LA, Hc. Roy
NManGheck hock be Cemoved ary Weal Crom Inmate
PlainkfC's HE Rages book,

Face \9

 
 

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WL PIaindif Hr, Rqex Way in Shock and asked OeCendand Hr.
Vincent Why Would Whe sek him V0 tushen ZT have 10 days
+o qe lame?" ee MC. Minced Ceplved  Relex You're

Sh\\ going home."

US. PlawdhCl Me, Agee Was han token Vo Sb ky C,0, My,
Nittesen y GO. ME, Sureek and) sereva\ ok G.0.'s Khot
Ire head Seen around Auburn Cotrechional Fac \rly,

AQ. Penne Was Very sad and analy and lad +o lee faken to
Whee Mendel thealdh Unik Got an ome on ome surcidee Lookch
and RN Mes, Noteen A Corrl| was nchfied, yhalb rk MBH is
Docs Ferm No. I4osHy Fregotd of Shave Frisk an Admission

+o SUV of HY Cel\Room,

BO, On the 24% day of Felotuary  LO'G, PlawhC wos SL in
Wis HAY cell and Way angry Aho he wes seino, denied his
Shower go he Celuged 4eo hand ore his dine \fosy and
uIem’ Lo ghee,

Bi. AA atoond A30—eM of such dake Intake Mr, Ages Was awaken
by his Cell doar opening lbul Me. Agee never moved of mache
ANY ablemel to sea Who enbered such Cell ile he felled

AN Fahy jume On his back and beady ‘slammed Prsinttt Mev Raed
ive" gcoond punching Kicking, Rex ing and | Chae King He A BER

Lorlhout ANY provocation,
PAGE \\

 
 

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52, Dhan Plainkil He. Rae covld gee was tak ih Was an Ligukenant
andan C.0, Plant loader eared Ahok Ahe LK Last name 1s
Nidchall and is in fack LAME. Soln Boe” NaS MAchell, whe

oS bax faking hig Hme be colh Plarvahill Mi Agex Slapped Warrock
tr. Rares calling iene Pid Fedathed Migge(."

52, The C0. MC. Sohn Doe" No.l of Cirsh jomped on Plainhil('s back
bud whin he seen LAMY, Midclell'S ingendions We quickly
racked of - tawt, did nok 4o shop LA. Me Mitchell Grom

Lot We ASsaulbing Plead,

BY, On-the Ast Bay of Mar Ch) ROG, Plain CC wos released from
The Mendal Heallh Var and daken to 4+he Sgecia Heute

Unc.

55. On She SS day at March) LOI) Plareh fF LOes S2vurd an
misiae haw (ot Ceeoch in Celeion 4o Ahse incident Which

OccwTed On IE

BG. On Ahn Gtk doy of Marchy OIG, Plant Her, Race torte
and Submided an Qcrenance vn teledion +o Mere assau\|4

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BA. On of aloout She Ht oc Kth doy ot Merch) LONG, untiamed
DOCS emeloyeecs) tock an -urifawFot dcien and.did Noi

secord DOCKS Diteckiwe NOLEVO The Crimidal Prosecution

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Canuqe, Courty Assiskand Disdvict Rion wrk Doccs
documerrtadion tin Felabion-+to the incident Llich owutred
on LIBAG with Lhe inendion dhod such dacumentetign

se USAd-~he Gommencee an Coiminal aclion against AN
Plaunifll Mr, Ree.

5B. Next Uhoal ADA Hr, Brian T, Leeds ‘Esq, does 1S ged in
combact wrhk an New York Shade Police, lnveshactor
Me. Beet E. Sour and digeck him A Copy What Was on
Exhibil 8" The Unusual Incident Report Regarding
Hie incidemk From J2-1R-IG ante an Yelany Complaint
SS and aS kis Supgot} chegasidion NYSP
\nveshqator LSes an DAcCS TalFrom Memorandum
From. C.0, Ht. kerk, E.Uincend Ml Tot Mr, Ray Vanf hart.

D4. Please not Ahad Plaindife My. Agee does nok wish to
Chalvenge dhe Griminal convichion keen bod Is only
Erelveriiing, DOGGS's misconduct,

G8. Oa Alye os doy, ef Motch, LONG, PlaindilS Me, Rate Was due,
‘As be (eleased fram DOGLS Care, costaiy cand, control kot
inskead Plainhilf Was Cearteshed ky members of thr
WNNGP and Clrarand with promaling Cangevou§ Pv Sen

condfaband ja Ale Lirsk degree an clasg-D Felony, Rail was |
gek ak 12009 cash | §Lo00 nd and Plainlifl hos not been
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Freee since Match a A018,

Gl, Rex BOGS cules and Requledions a\l R&Rneaes So such
incickent’ should have Bean Syyunged Qn Soch dabe so
Mok suck nNadewk woold play Av Coke wm folove
AVUSIONS especially 4o cause havm 40 Abe Plaiwdilf,

C22. On the IH doy of March, LOG, Plank fF as the Defendant
pfaceeded to an Reelimrnayy hearing in Celodion 40 +he
Incidenk Which Occurred an D28-14 od such heaving Hee
Peophe eroduord GO.HG Reh EWWincek Was tts widiess,

G3. Ba such dake de Keopte Aid not have exren Pichon
at Ae albeged canitaloand .

GH. On bre 1246 | day of March) 2O\t, He Peoghe Ware allowed _
45 enbe¥ Robotn Carttchional Tact lity and Nea ablain
Corker Docomantoalian and physical evidence neers
WA albeged combtaband in queshion,

&5.On the V3** day of March; LOI this Mabker Was

presenked in frank of an Grand Jory and again Oebendan |

7.0. Me, Reid BE, Ui ncent ptonided Pes\imony for Ahn Feapte
and m Gddrion MG Sherri Guzylak y Whe \nmote, Recavds
Geatdinaler \\ alse pfoviced ‘Seslimany For +e Peopte
at suck Grand Juty proceedings,

Pace \H

 
 

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lolo, Orn thre QYHH doy of Raqust y LOK, Whale Ploankiff Me, Agee,

was in the Cold, Cugte and, control of The Cayuga
County Naik ode luncly vie, PRantilh cewed bis lunch
ATA and lsequn 45 tek an baq of Polako chigS wPON
locking inside such loag of potato chigs Planl((
Aiscometed Ahned i as lkeed With small amis and
Immrcdabeally ser khe chies What he was ead on

4Nne around amd informed GG) G.0. Mr< . ‘ane Foe! Solt

Wade aloout such Pag ot hips and adeed could Ie
loa pranded on anctles bad.

GA, CO. Mes, Wade became koty distesRect stoking
S\nok Plaine Me. Raex would nol be: provided
anodhwet boa, of Chids and ordeted Me Plainhi€’ to

Chean up Mis Mess. Such conduct by an Conrechional

OMcre ig vnprokessional and & eteol Ahod She rman
nod hat been grogerly rained,

CS. Plainll’ cubmiblivd AN afvevance. on such dod,
Lohizh veg 10 fark Actere Exh ibis M Ail

GA. On re St day of Nowmbely LOW, LE MH Joseeh Vasil

Cots Me Ker, BsVintent, My. Nokhanrel Sureet }
Mr, Renin Bs

%

and MS. Shetti Gu2ylek the \nmode

- Recaeds Coutdinater \t alk Nubutn Con ectional Facilidy

and all BOCCS employees Provided Feshimony af
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Promoting, Danaetous Prisan Conktaband in Whe Gish Qegqver.

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wokmess a Cheodke an basis For the Ruse al Me Same
Juty Tial, The Prop also producad Exhibit a Lahich
wawdrs A\\ Unusual Incidents (rom Septrmber LOIS: te
Sepkemlser HOVE tO Reade an basis for an offense,

He Plasndi€l hos no Knawhedae OF who provided The Reape
woiklh Suth document which ts Who Plaid ff reketted +o
As Mrq), Sohn danedgy* Dowd) No.l,

FAL, On dpe (4 doy ef Normbs ‘) ZUG | dye Plainhi€€ as
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Gonlyalband, in the Litsh degher. 2 an duty of lis peers,

F304 wf acoond ‘he Fellewing week Plain CF Me Pager Wos
1<S9RA, an Prsbehanier pot) sy GES GO. MES, Wode
Cot allegedly Lleckin . ac attempting to block her
Viets of ound Fighting, Plainti€e Lelitued nat Huis
was an miclselonlior nba iN Rebailichion Cor Exhilrt
ran

ein, tH

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“AH. On Abe 24d day of December, LOIG, rk became discloped
by the Coryuaya Lounly DA Hyr.don E. Budelmann, Esq. to
tie Media Mat an GO. dak Roburn Gorreckiongl Foci Wty
altegediy glombed contraband onan inmake to Lreak
LE AN ELISA 96119 and thot such GO. admdted such
a, Ling, Lack in Moy of 2O1S\ Exhibit Me

HS. Br Atee VE af otound ie (A day of Janiar ) d0V4, the
name of gsvclh G0, Was disclesed ag Mr. Hod Keus Covanil
and allegedly Wwe and wo other C.0.'s were Placed on
RadorimsWadlwoe ode afer employers fram OSI conducted
Beaoheg OF Ale locleeG OF de emoloyees af Auburn
Gotteckional Facalviy and disceyeged several Aten
Kands of conltoabend MHaro\ aggeatently such C.0ts Osd
+o plank on lomartes , Exhibik YG" .

AG, Mso, Five lnmokes Wete thonetabed due to the fact
Yaok Grd. Me Mokke Gotrell lad diteck envolument
in Ake COgeRs Such inmodles ate Vout black men and
one iscanve Man ~ nome tokee Whie and, al\ weve
Sean Lo be released joss oS Hae PlaamiK when the
allege CovrWaloand was found on Ane petgans,

FA, Plaindll Was genbenved +o Hitee do six Yeats imecison peal
oa thre Wh don ot Motch) 1014, and Plaintiff has ban
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